        Case 5:24-cv-00441-MTT          Document 9       Filed 02/21/25     Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

 YUPANQUI PACHACUTEC ,                              *

                       Plaintiff,                   *
 v.                                                     Case No. 5:24-cv-00441-MTT
                                                    *
 CITY OF FORSYTH, et al,
                                                    *
                   Defendant.
 ___________________________________                *


                                       JUDGMENT

       Pursuant to this Court’s Order dated February 21, 2025, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of Defendants.

       This 21st day of February, 2025.

                                            David W. Bunt, Clerk


                                            s/ Raven K. Alston, Deputy Clerk
